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EXHIBIT A
Case 2:21-cv-01361-GEKP Document 1-4 Filed 03/22/21 Page 2 of 18

Court of Common Pleas of Philadelphia County
Trial Division

Civil Cover Sheet

lcRGHESe GAGE =
PLAINTIFF'S NAME

MICHAEL MACALUSO

PLAINTIFF'S ADDRESS
122 SLAYMAKER RD
MILFORD PA 18337

| PLAINTIFF'S NAME

PLAINTIFF'S ADDRESS

| PLAINTIFF'S NAME.

 

 

PLAINTIFF'S ADDRESS

| TOTAL NUMBER OF PLAINTIFFS "TOTAL NUMBER OF DEFENDANTS
|

ccndEioemate lee ___ For Prothangtary. U: Use | Only (Docket Number)

FEBRUARY 2021 001562

_E-Fulng Number: 2102030669

DEFENDANT'S NAME
APPLE INC

 

 

| DEFENDANTS ADDRESS
| Ll INFINITE LOOP MS:

CUPERTINO CA 95014

38-3TX

DEFENDANT'S NAME

DEFENDANT'S ADDRESS

DEFENDANT'S NAME

| DEFENDANTS ADDRESS |

COMMENCEMENT OF ACTION |
| & Complaint D1 Petition Action C1 Notice of Appeal

 

1 1 |
(oO Writof Summons 7 Transfer From Other Jurisdictions
AMOUNT IN CONTROVERSY | COURT PROGRAMS OO a |
oO (J) Arbitration CD Mass Tort (2) Commerce C) Settlement
$50,000.00 or less w Jury i) Savings Action (F Minor Coun Appeal DO Minors
EX) More than $50,000.00 CO Non-Jury Petition C2 Statutory Appeals CO) wepisurvival
oO Other:

CASE TYPE AND CODE _
1G - SUBROGATION ACTION

L STATUTORY BASIS FOR CAUSE OF ACTION

| RELATED | PENDING CASES (List BY CASE CAPTION AND DOCKET NUM@ER)

‘TO! THE PRO r HONOTARY:

 

| Kindly enter my appearance on behalf of Plaintiff/Petitioner/A ppetlant:

| Papers may be served at the address set forth below,

NAME OF PLAINTIFF'S/PETITIONER’S/APPELLANT'S ATTORNEY
|
| KENNETH B, GREAR

FAX NUMBER

| PHONE NUMBER
(215) 383-8008

(215) 383-0081
‘SUPREME COURT IDENTIFICATIONNO,
81608

 

SIGNATURE OF Fi
KENNETH GREAR

FINAL COPY (Approved by ihe Prothonotary Clerk)

 

 

~ ALED 1S CASE SUBJECT TO
COORDINATION ORDER?
PRO PROTHY ite No
FEB 17 2021
|
A. SILIGRINI
47CHAEL MACALUSO |
_ —- So |
DE LUCA LEVINE, LLC |
| THREE VALLEY SQUARE
SUITE 220
BLUE BELL PA 19422
" E-MAILADDRESS _ —
kgrear@delucalevine.com
| OATESUBMITTED = -
Wednesday, February 217, 2021, 11:36 am
Case 2:21-cv-01361-GEKP Document 1-4 Filed 03/22/21 Page 3 of 18

IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNT Ne rea by the
FIRST JUDICIAL DISTRICT OF PENNSYLVANtTAe of Vudicial Records

CIVIL TRIAL DIVISION 17 FEa\2022 11:36 am
Ay, SILIGRINI

 

 

MICHAEL MACALUSO
122 Slaymaker Road
Milford, PA 18337
intilf
Maing FEBRUARY TERM 2021
Vv.
CASE NO.:

APPLE INC.
1 Infinite Loop MAJOR CASE
MS: 38-3TX JURY TRIAL DEMANDED
Cupertino, CA 95014

Defendant

 

 

NOTICE TO DEFEND

You have been sued in Court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this Complaint and notice are
served, by entering a written appearance personally or by attorney and filing in writing with the
Court your defenses or objections to the claims set forth against you. You are warned that if you
fail to do so, the case may proceed without you and a judgment may be entered against you by the
Court without further notice for any money claimed in the Complaint or for any other claim or
relicf requested by the Plaintiff. You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE
OFFICE SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.

AVISO

Le han demandado a usted en la corte. Si used quiere defenderse de estas demandas
expucstas en las paginas siquientes, used tiene veinte (20) dias de plazo al partir de la fecha de la
demanda y la notificacion. Hace falta asentar una comparencia escrita 0 en persona o con un
abogado y entregar a la corte en forma escrita sus defensas 0 sus objectiones a las demandas en
contra de su persona. Sea avisado qui si usted no se defiende, la corte tomara medidas y puede
continuar la demanda en contra suya sin previo aviso o notificacion. Ademas, la corte puede
decidir a favor del demandante y requiere que usted cumpla con todas las provisiones de esta
demanda. Usted puede perder.

LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTS, SI NO TIENE
ABOGADO O SI NO TIENE EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO. VAYA

Case ID: 210201562
Case 2:21-cv-01361-GEKP Document 1-4 Filed 03/22/21 Page 4 of 18

EN PERSONA O LLAMEPOR TELEFONO A LA OFICINA CUYA DIRECCION SE
ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE PURDE CONSEQUIR.

Philadelphia Bar Association
Lawyer Referral and Infermation Service
One Reading Center
Philadelphia, Pennsylvania 19107
(215) 238-6333
TTY (215) 451-6197

Case ID: 210201562
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IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 

 

 

 

CIVIL TRIAL DIVISION

MICHAEL MACALUSO
122 Slaymaker Road
Miiford, PA 18337

Plaintiff

= FEBRUARY TERM 2021
Y.
CASE NO.:

APPLE INC.
1 Infinite Loop MAJOR CASE
MS: 1042TX JURY TRIAL DEMANDED
Cupertino, CA 95014

Defendant

Plaintiff, Michael Macaluso, by and through his undersigned attorneys, hereby submits his

Complaint against Defendant, Apple Inc., and in support thereof avers as follows:
PARTIES

1. Plaintiff Michael Macaluso (“Plaintiff”) is an adult individual who resided at 122
Slaymaker Road, Milford, PA 18337 (the “subject property”) at all times relevant hereto.

2. At all times relevant hereto, Defendant, Apple Inc. (““Apple” or “Defendant”), upon
information and belief, was and is a California corporation with its principal place of business
located at | Infinite Loop, MS: 1042TX, Cupertino, CA.

3. Apple is in the business of designing, manufacturing, testing, inspecting,
assembling, marketing, selling, distributing, programming and/or updating iPads, and component
parts, including the Apple iPad, Serial DMTZLGCTMF3M (the “subject iPad”) at issue in the

instant case.

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STATEMENT OF FACTS

4. Plaintiff repeats the allegations set forth in the prior paragraphs of this Complaint as
though they were set forth at length herein,

5. Prior to March 2, 2020, Defendant designed, manufactured, tested, inspected,
assembled, marketed, sold, distributed, programmed, updated, and placed into the stream of
commerce the subject iPad that was equipped with an electrical system, battery system containing
lithium-ion batteries, as well as a software system that was capable of being remotely updated by
Defendant even after the date of purchase.

6. Prior to March 2, 2020, Plaintiff purchased the subject iPad.

7. Prior to March 2, 2020, the subject iPad had the original operating system in place,
as well expected authorized updates downloaded onto the iPad.

8. Prior to March 2, 2020, Plaintiff operated and used the subject iPad in a foreseeable,
normal, ordinary, and intended manner.

9. On or about March 2, 2020, a fire erupted at the subject property as a direct result
of an event internal to the electrical /battery system in the subject defective iPad.

10. Alternatively, on or about March 2, 2020, a fire erupted at the subject premises as
a direct result of one or more defects and/or malfunction in the subject iPad related to the electrical
/battery system in the subject iPad .

Il. Prior to the fire, neither the subject iPad nor its electrical/battery system been
modified, changed, altered, misused or abused by Plaintiff in any way beyond what was

authorized, provided for or anticipated by Defendant after it had placed the subject iPad into the

stream of commerce.

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12. The fire caused extensive damage to Plaintiff's real and personal property, and
caused other consequential and incidental damages including clean-up costs, repair, and other
associated expenses and hardship besides.

13. Asaresult of the aforementioned fire, Plaintiff sustained damages in an amount in
excess of $50,000.00.

COUNT I - STRICT PRODUCTS LIABILITY
Plaintiff vy. Apple, Inc.

14. Plaintiff repeats the allegations set forth in the prior paragraphs of this Complaint as
if they were fully set forth at length herein.

15. Defendant is engaged in the business of designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing, programming and/or updating iPads
(which were equipped with an electrical system/battery system containing lithium-ion batteries, as
well as a software system that was capable of being remotely updated by Defendant even after the
date of purchase).

16. Furthermore, Defendant specifically designed, manufactured, tested, inspected,
assembled, marketed, sold, distributed, programmed, updated and placed into the stream of
commerce the subject iPad at issue in this case, which was equipped with an electrical systern/
battery system containing lithium-ion batteries, as well as a software system that was capable of
being remotely updated by Defendant even after the date of purchase.

17. The subject iPad was not modified, changed, altered, misused, or abused after
Defendant placed the product into the stream of commerce.

18. Defendant knew, and intended, that the subject iPad would be used by members of

the general public, and furthermore knew of the specific uses, purposes and requirements for which

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said iPad would be utilized, including that Defendant intended to authorize, facilitate and provide
necessary future updates for the operating system and software installed on the iPad that might
affect the operation of the subject iPad and its electrical system/battery system.

19, Defendant designed, manufactured, tested, inspected, assembled, marketed, sold,
distributed, programmed, updated, and placed into the stream of commerce the subject iPad in a
defective and unreasonably dangerous condition, which ultimately led to a catastrophic failure
and/or malfunction.

20. Defendant knew, or should have known, that the iPad would, and did, reach
Plaintiff without substantial change in the condition in which it was originally selected and sold.

21. The subject iPad was not altered in any manner that caused or contributed to the
fire after the product originally left the possession of Defendant (other than as authorized,
recommended and/or facilitated by Defendant),

22. Plaintiff, a consumer, operated the iPad in a foresceable, normal, ordinary and
intended manner at all relevant times.

23. The fire and its resulting property damage were caused by the defective and
unreasonably dangerous condition of the subject iPad at the time it left the hands of Defendant,
including design defects, manufacturing defects, programming defects, and improper
wamings/instructions and/or malfunction.

24. The fire and its resulting property damage were caused by the defective and
unreasonably dangerous condition of the product, including design defects, manufacturing defects,
programming defects, and improper warnings/instructions and/or malfunction.

25. The aforementioned defects, and/or unreasonably dangerous conditions, existed at

the time Defendant placed the subject iPad into the stream of commerce and were foreseeable then;

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as well as after, when Defendant may have facilitated the updating of the subject iPad’s operating
system and software.

26. The subject iPad was dangerous to an extent beyond that which would be
contemplated by the ordinary consumer who purchases it, with the ordinary knowledge common
to the community of its characteristics.

27. The probability of injury times the gravity of injury under the design of the subject
iPad was and is more than the cost of an alternative reasonable design plus the diminished utility
resulting from modifying the design.

28. Common experience teaches that the fire would not have occurred in the subject
iPad in the absence of such a defective and unreasonably dangerous condition.

29. The foreseeable risks associated with the design of the subject iPad exceed all
benefits,

30. The defective and unreasonably dangerous conditions of the subject iPad were
direct and proximate causes of the damages sustained by Plaintiff.

31. The defective and unreasonably dangerous conditions of the subject iPad
proximately caused a fire to occur at the subject property, which resulted in damages to Plaintiff:
thus, Defendant is strictly under Section 402A of the Restatement (2d) of Torts, and
Pennsylvania’s applicable case law.

32. The fire that occurred in the subject product and the subsequent damage to real and
personal property, was caused by and resulted from the negligent, carelessness, reckless and
grossly negligent acts and/or omissions of Apple, acting by and through its respective agents,

servants and/or employees in the course and scope of their employment, through which Defendant

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is strictly liable under Section 402A of the Restatement (2d) of Torts, and Pennsylvania’s

applicable case law, by reason of:

a. designing, assembling, manufacturing, selling, testing, distributing and/or
marketing a defective product, the subject iPad, which Apple knew or
should have reasonably known would subject Plaintiff to an unreasonable
risk of harm;

b. designing, assembling, manufacturing, selling, testing, distributing and/or
marketing a defective product, the subject iPad, which Apple knew or
should have reasonably known would endanger the real and personal

property of Plaintiff;

c. failing to select safe and adequate components of the subject iPad;

d. failing to properly and adequately warn of the limitations of the subject
iPad;

e. failing to provide adequate and sufficient warnings with respect to the

subject iPad which thereby rendered the subject iPad defective and
unreasonably dangerous;

f failing to distribute and/or supply a product that was safe of its reasonably
foreseeable use and intended purpose;

g. designing, assembling, manufacturing, selling, testing, distributing and/or
marketing a defective product, the subject iPad, that was not reasonably fit,
suitable or safe for its intended purpose;

h. failing to properly test and inspect the subject iPad at the time it Ieft the
control of Defendant;

I. failing to manufacture, assemble and/or design the subject iPad in a manner
sufficient to prevent fire;

ih. failing to comply with all local, state and federal codes, regulations,
ordinances, standards, recommendations and/or requirements;

k, selling, distributing and/or marketing a defective iPad;
iF otherwise failing to act reasonably under the circumstances; and

failing to identify and design out foreseeable use hazards and failure hazards
in general,

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33. Asa direct and proximate result of Defendant Apple’s aforementioned acts and/or
omissions for which Apple is strictly liable, the Plaintiff sustained and incurred damage to his/their
real and personal property, and caused other consequential and incidental damages including

clean-up costs, repair, and other associated expenses in an amount in excess of $50,000.00.

34, For these reasons, Defendant is strictly liable to Plaintiff as a result of the
aforementioned fire wherein Plaintiffs sustained damages in an amount well in excess $50,000.00.
WHEREFORE, Plaintiff Michael Macaluso respectfully requests judgment against
Defendant, Apple Inc., in an amount in excess of $50,000.00, plus costs incident to this suit, delay
damages, and for such other relief as this Honorable Court shall deem appropriate under the

circumstances.

COUNT II ~ NEGLIGENCE
Plaintiff. vy. Apple, Inc.

35. Plaintiff repeats the allegations set forth in the prior paragraphs of this Complaint as
if they were fully set forth at length herein.

36. Defendant owed a duty of reasonable care to purchasers/users/consumers and the
like with regard to the designing, manufacturing, testing, inspecting, assembling, marketing,
selling, distributing, programming, updating, and placing into the stream of commerce the subject
iPad; and breached said duty.

37. Defendant knew, and intended, that the subject iPad would be used by members of
the general public/consumers and furthermore knew of the specific uses, purposes and
requirements for which said product would be utilized, including that Defendant intended to

authorize, facilitate and provide necessary future updates for the operating system and software

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installed on the iPad would negatively affect the operation of the subject iPad and its battery
system.

38. When the subject iPad was distributed and sold, Defendant was aware that the
subject iPad could be updated remotely with authorized software and operating system updates,

and it is likely that Defendant intended to facilitate such updates and, in fact, did facilitate such

programming updates.

39. The aforementioned damages were the direct and proximate result of the negligence
and careless conduct and/or acts or omissions of Defendant, by and through its employees, agents,
technicians, vendors, subcontractors, suppliers and/or servants, more specifically failing to

exercise reasonable care described as follows:

a. carelessly and negligently failing to design, manufacture,
test, inspect, assemble, market, sell, distribute, program,
update and/or place into the stream of commerce a properly
functioning and defect-free iPad, which after reasonable and
foreseeable use malfunctioned and/or catastrophically
failed;

b. carelessly and negligently failing to properly design,
manufacture, test, inspect, assemble, market, sell, distribute,
program, update and/or place into the stream of commerce
the subject iPad free from defects, including but not limited
to batteries and an electrical system/battery system capable
of functioning in a safe and appropriate manner - originally,
as well as after Defendant may have facilitated authorized
updates to the operating system and software of the subject
iPad;

c. carelessly and negligently failing to properly determine that
the iPad, including its component parts, were not in a safe
condition, and free of all material defects, including but not
limited to batteries and an electrical system/battery system
system capable of functioning in a safe and appropriate
manner — originally, as well as after Defendant may have
facilitated authorized updates to the operating system and
software of the subject iPad;

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d. carelessly and negligently designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing,
programing, updating and/or placing into the stream of
commerce the subject iPad when it knew, or should have
known, that the product was unsafe and unfit for its intended
use, including but not limited to batteries and an electrical
systenybattery that was unsafe and unfit -- originally and
after Defendant may have facilitated authorized updates to
the operating system and software of the subject iPad;

e. carelessly and negligently designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing,
programing, updating and/or placing into the stream of
commerce the subject iPad when Defendant knew, or should
have known, that the product would be inadequate for the
reasons for which it was purchased — originally and after
Defendant may have facilitated authorized updates to the
operating system and software of the subject iPad;

f. carelessly and negligently designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing,
programing, updating and/or placing into the stream of
commerce the subject iPad that had unreasonably dangerous
electrical syster/battery components (and/or programming
as to the use of such components) that caused the product to
catastrophically fail and/or malfunction - originally and after
Defendant may have facilitated authorized updates to the
operating system and software of the subject iPad;

g. carelessly and negligently designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing,
programing, updating and/or placing into the stream of
commerce the subject iPad that had unreasonably dangerous
electrical systenV/battery components (and/or programming
as to the use of such components) that caused the product to
catastrophically fail and/or malfunction - originally and after
Defendant may have facilitated authorized updates to the
operating system and software of the subject iPad;

h. carelessly and negligently designing, manufacturing, testing,
inspecting, assembling, marketing, selling, distributing,
programing, updating and/or placing into the stream of
commerce a dangerous and defective iPad that Defendant
knew, or reasonably should have known, exposed users to an
unreasonable risk of harm - originally and after Defendant

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may have facilitated authorized updates to the operating
system and sofiware of the subject iPad;

i. carelessly and negligently failing to properly and adequately
design, manufacture, test, inspect, assemble, market, sell,
distribute, program and/or update the subject iPad prior to
introducing the product into the stream of commerce and/or
after facilitating authorized updates to the operating system
and software of the subject iPad and altering the functioning
of the iPad, including but not limited to the electrical
system/battery system;

J. carelessly and negligently failing to provide adequate and
sufficient warnings and instructions with respect to the
product, which rendered it defective and unreasonably
dangerous - originally and after Defendant may have
facilitated authorized updates to the operating system and
software of the subject iPad;

k. carelessly and negligently authorizing, recommending,
programming and facilitating updates to the operating
system and software so as to allow them to be downloaded
to the subject iPad which altered the functioning of the iPad,
including but not limited to the rlectrical system/battery
system,

I. carelessly and negligently authorizing, recommending,
programming and facilitating updates to the operating
system and software that Defendant knew, or should have
known, rendered the product unsafe and unfit for its intended
use;

m. carelessly and negligently authorizing, recommending,
programming and facilitating updates to the operating
system and software that Defendant knew, or should have
known, were not free from defects and were not compatible
with the iPad and/or battery system already installed on the
subject iPad; and/or

n. carelessly and negligently failing to provide adequate and
sufficient warnings and instructions with respect to the
authorized updates to the operating system and software and
the impact on the subject iPad and the electrical
systenybattery system, which rendered it defective and
unreasonably dangerous at the time of sale.

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40. As a direct and proximate result of Defendant’s aforementioned negligent and
careless actions and/or omissions, the aforementioned fire occurred and Defendant is liable to
Plaintiff for the damages sustained.

41. For these reasons, Defendant is liable to Plaintiff as a result of the aforementioned
fire, for which Plaintiff sustained damages in an amount in excess of $50.000.00.

WHEREFORE, Plaintiff Michael Macaluso respectfully requests judgment against
Defendant, Apple Inc., in an amount in excess of $50,000.00, plus costs incident to this suit, delay

damages, and for such other relief as this Honorable Court shall deem appropriate under the

circumstances.

COUNT Lil - BREACH OF EXPRESS and/or IMPLIED WARRANTIES
Plaintiff v. Apple, Inc.

42. Plaintiff repeats the allegations set forth in the prior paragraphs of this Complaint
as if they were set forth at length herein.

43. The design, manufacture, testing, inspecting, assembling, marketing, selling,
distributing, programming, updating and/or placing into the stream of commerce of the subject
iPad was not performed in a professional, competent, and workmanlike manner for the reasons set
forth herein, and as such posed a hazard to Plaintiff and his property.

44, In conjunction with the design, manufacture, testing, inspecting, assembling,
marketing, selling, distributing, programming, updating and/or placing into the stream of
commerce of the subject iPad, Apple expressly and impliedly warranted that the product would be
free from defects and safe to use for its intended purpose. Plaintiff, relied upon the warranties set

forth by Apple to his detriment.

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45. Apple breached these warranties because the subject iPad was not free of defects,

was not of merchantable quality, and was not fit for the purposes for which it was intended.

46. Plaintiff has performed all conditions precedent to recover based upon such

breaches.

47. Plaintiff's damages occurred as a direct result of Apple’s breach of its implied
warranties of fitness for a particular purpose and merchantability as set out in 13 Pa. C.S.A.§2-315
and §2-31]4(c), and as a result of Apple’s breach of its expressed/implied warranties in violation of
13 Pa.C.S.A. §2-313, as well as the express and implied warranties set forth in the warranties

included at the time of purchase of the product, and/or any time prior or subsequent thereto.

48. Plaintiff, a consumer used the subject iPad in a foreseeable and ordinary manner,
of which Defendant should have been aware, and for which Defendant’s expertise was relied upon;
yet Plaintiff sustained the damages described herein due to the defects, breaches and negligence
described above.

49. _ As a direct and proximate result of Apple’s aforementioned warranty breaches
(express and/or implied), for which Apple is liable, the Plaintiff sustained and incurred damage to
his/their real and personal property, and caused other consequential and incidental damages

including clean-up costs, repair, and other associated expenses in an amount in excess of
$50,600.00,
WHEREFORE, Plaintiff Michael Macaluso respectfully requests judgment against

Defendant, Apple Inc., in an amount in excess of $50,000.00, plus costs incident to this suit, delay

damages, and for such other relief as this Honorable Court shall deem appropriate under the

circumstances.

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de LUCA LEVINE LLC

BY; /s/ Kenneth B. Grear
KENNETH B. GREAR,
PA ID No.: 081608
$512 Township Line Road, Suite 220
Blue Bell, PA 19422
Phone: (215) 383-0081
Fax: (215) 383-0082
E-Mail: kgrear@delucalevine.com
ATTORNEYS FOR PLAINTIFF
MICHAEL MACALUSO

Dated: February 27, 2021

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VERIFICATION

I, Beth Brogan, under the penalties of perjury, state that T am a representative of Allstate
Vehicle and Property Insurance Company, that [ am authorized to make this verification on behalf
of Allstate, that I have read the Complaint; that I do not have, and am informed that no single
officer or agent of Ailstate has personal knowledge of all matters set forth in the Complaint; that
the Complaint was prepared by counsel from information provided by myself and certain
employees from Allstate who were designated to assemble such material and are based on their
personal knowledge or that of other persons who were consulted and on examination of records
maintained by Allstate during the regular course of business; and that upon information and belief
the Complaint is true and correct to the best of my knowledge alter due inquiry.

Eth Brogan

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Signed under penalty of perjury this17 day of February, 2021

Case ID: 210201562
